            Case 3:20-cv-05671-JD Document 187-1 Filed 10/14/21 Page 1 of 2


 1                                 UNITED STATES DISTRICT COURT

 2                             NORTHERN DISTRICT OF CALIFORNIA
 3
                                        SAN FRANCISCO DIVISION
 4

 5
     IN RE GOOGLE PLAY STORE
 6                                                            Case No. 3:21-md-02981-JD
     ANTITRUST LITIGATION
 7
     THIS DOCUMENT RELATES TO:                                [PROPOSED] ORDER GRANTING
 8                                                            JOINT REQUEST TO CONDUCT CASE
     Epic Games Inc. v. Google LLC et al., Case               MANAGEMENT CONFERENCE
 9   No. 3:20-cv-05671-JD                                     REMOTELY

10                                                            Judge: Hon. James Donato
     In re Google Play Consumer Antitrust
11   Litigation, Case No. 3:20-cv-05761-JD

12   In re Google Play Developer Antitrust
13   Litigation, Case No. 3:20-cv-05792-JD

14   State of Utah et al. v. Google LLC et al., Case
     No. 3:21-cv-05227-JD
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                                  [PROPOSED] ORDER GRANTING JOINT REQUEST
                           TO CONDUCT CASE MANAGEMENT CONFERENCE REMOTELY
           Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
             Case 3:20-cv-05671-JD Document 187-1 Filed 10/14/21 Page 2 of 2




 1                  The Court, having considered the “Joint Request to Conduct Case Management

 2   Conference Remotely”, filed by the parties in the above-captioned actions (the “Parties”), hereby

 3   ORDERS that the request is GRANTED. The upcoming October 21, 2021 Case Management

 4   Conference will be held remotely by Zoom webinar.

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 6   Dated: October ___, 2021                                     BY THE COURT:

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                                                                  ________________________________
 8                                                                UNITED STATES DISTRICT JUDGE
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                                   [PROPOSED] ORDER GRANTING JOINT REQUEST
                            TO CONDUCT CASE MANAGEMENT CONFERENCE REMOTELY
            Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
